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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

MARCIA GRANT, ET. AL                           :
                                               :
        Plaintiff                              :
                                               :
v.                                             :       Civil Action No. 1:20-cv-02226--GLR
                                               :
ATLAS RESTAURANT GROUP, LLC                    :
                                               :
        Defendant                              :

                                   JOINT STATUS REPORT

        COMES NOW, Plaintiff, Marcia Grant, and Defendant, Atlas Restaurant Group, LLC, by

and through undersigned counsel, and pursuant to the Court’s Scheduling Order, file their Joint

Status Report:

        Plaintiffs

        Plaintiffs request an extension of 30 days of the deadlines in the scheduling order.

        Defendant

        Defendant disagrees with Plaintiff’s position and believes that discovery is closed and has

been completed.

        The parties jointly request a telephonic status conference to discuss the deadlines in the

scheduling order. The parties are available on Friday, April 8, 2022, any time before 1:00 pm.

Alternatively, the parties request guidance from the Court if the Court wishes that the parties follow

the procedures in the Court’s Standing Order on Discovery Procedures, ECF No. 45.2 and brief

the issue.




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     Respectfully submitted,




________/s/_____________________      DeCARO, DORAN, SICILIANO,
Joseph E. Spicer, Esquire #27839      GALLAGHER & DeBLASIS, LLP
Cohen Harris, LLC
1 North Charles Street, Suite 350
Baltimore, Maryland 21201             /s/ James S. Liskow
Telephone No.: (888) 585-7979         James S. Liskow
Fax No.: (443) 773-0675
E-mail: joseph@cohenharris.com        17251 Melford Boulevard
Local counsel for lead counsel        Suite 200
Mills & Edwards, LLP                  Bowie, MD 20715
14 Penn Plaza, Suite 2020             Tel: (301) 352-4950
New York, New York 10122              Fax: (301) 352-8691
                                      jliskow@decarodoran.com
Attorneys for Plaintiffs

                                      THOMAS & LIBOWITZ, P.A.


                                      /s/ Scott H. Marder
                                      Scott H. Marder
                                      shmarder@tandllaw.com
                                      Sima G. Fried
                                      sfried@tandllaw.com
                                      25 S. Charles Street
                                      Suite 2015
                                      Baltimore, MD 21201
                                      Tel: (410) 752-2468
                                      Fax: (410) 752-0979


                                      Attorneys for Defendants




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 6th     day of   April     , 2022, a copy of the foregoing

Joint Status Report was efiled to:

       Joseph E. Spicer, Esquire
       COHEN HARRIS, LLC
       1 North Charles Street
       Suite 350
       Baltimore, MD 21201

       Lennon Edwards, Esquire
       Mills & Edwards, LLP
       14 Penn Plaza, Suite 2020
       New York, New York 10122


                                         /s/ James S. Liskow
                                         James S. Liskow




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